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                         IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF OREGON

                                     PORTLAND DIVISION


J.M., A.S., and R.L.,
                                                                            No. 3:18-cv-00918-YY
               Plaintiffs,
                                                                          OPINION AND ORDER
       V.

KARLA MAJOR et al.,

               Defendants.



MOSMAN,J.,

       On December 26, 2018, Magistrate Judge Youlee Yim You issued her Findings and

Recommendation (F&R) [37], recommending that Plaintiff's Motion to Remand [27] should be

GRANTED and that this case be remanded back to state court. No objections were filed.

                                          DISCUSSION

       The magistrate judge makes only recommendations to the court, to which any party may

file written objections. The court is not bound by the recommendations of the magistrate judge,

but retains responsibility for making the final determination. The court is generally required to

make a de novo determination regarding those portions of the repoti or specified findings or

recommendation as to which an objection is made. 28 U.S.C. § 636(b)(l)(C). However, the

court is not required to review, de novo or under any other standard, the factual or legal

conclusions of the magistrate judge as to those potiions of the F&R to which no objections are

addressed. See Thomas v. Arn, 474 U.S. 140, 149 (1985); United States v. Reyna-Tapia, 328


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F.3d 1114, 1121 (9th Cir. 2003). While the level of scmtiny under which I am required to

review the F&R depends on whether or not objections have been filed, in either case, I am free to

accept, reject, or modify any part of the F&R. 28 U.S.C. § 636(b)(l)(C).

       Upon review, I agree with Judge You' s recommendation and I ADOPT the F &R [3 7] as

my own opinion. Plaintiff's Motion to Remand [27] is GRANTED and this case is remanded

back to Multnomah Circuit Court.



       IT IS SO ORDERED.

       DATED this         day of January, 2019.




                                                           Chief United States   ·




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